Case 2 04 cv 02425 tmp Document 67 Filed 08/29/05 Page 1 of 2 Page|D 101

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE AT MEMPHIS
WESTERN DIVISION

 

BRENDA MEDRANO, Administratrix of
the Estate of Rogelio Galvan aka Agustin
Fernando Martinez, Deceased, and as ;;; ca
Parent and Next Friend of Flor Carolina §§ § §
Martinez Medrano, a Minor, and JOSE ';;.>;~E§ § 5
RUBEN LARA BUENDIA, §§ 33 3
;:,_Cb(;, .
Plainaffs, NO 04 242 §§ § f@;
§ __ .'cr
vS. JURY DEMANDED "° 9
MCDR INC. and M. A. MORTENSON
COMPANY,
Defendants.

 

ORI)ER GRANTING PLAINTIFFS’ MOTION FOR EXTENSION OF TIME

 

On thls day carne on for consideration Plaintiffs’ Motion for Extenslon of Tlme to tile
Response to Defendant MCDR’S Motion for Sumrnary Judgment and the Court havlng

consldered same is of the opinion that the Motion Should be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plalntlffs Shall

have untll October 10 2005 to file their Response to Defendant MCDR S Motlon for

Surnrnary Judgment. §§
L/%A)\\

§ States District Judge
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Honorable J. Breen
US DISTRICT COURT

